                                                                      SO ORDERED.


                                                                      Dated: February 2, 2015

UST-32A, 3-03



                                                                      Eddward P. Ballinger Jr., Bankruptcy Judge
                                                                      _________________________________




                       IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF AZ


 In re:                                          )     CHAPTER 7
                                                 )
 OCHOA, GABRIEL                                  )     CASE NO. 10-27436-PHX-EPB
 OCHOA, YOLANDA                                  )
                                                 )
                                                 )     ORDER FOR PAYMENT OF
                                                 )     UNCLAIMED FUNDS TO THE
                 Debtor(s)                       )     U.S. BANKRUPTCY COURT
                                                 )



          Upon application of the Trustee and good cause appearing,

          IT IS ORDERED that the Trustee pay over the amount of $7,427.84 to the Clerk of the

Court pursuant to Bankruptcy Rule 3010, and §347 of the Code.




                                 DATED AND SIGNED ABOVE




Case 2:10-bk-27436-EPB          Doc 46 Filed 02/02/15 Entered 02/03/15 08:19:28                  Desc
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